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Form USDCNMI Bankruptcy Not.Def



                                    UNITED STATES DISTRICT COURT
                                  FOR THENORTHERN MARIANA ISLANDS

In Re: Julie Ann Palacios Guerrero                                                 Case No.: 1:21-bk-00002
        P.O. Box 500251                                                            Chapter:       7
        Saipan, MP 96950                                                                       FILED
                                                                                                 Clerk
                                                                                             District Court
         Debtor(s),                                                                         JUL 26 2021
Social Security / Individual Taxpayer ID No.:                                      for the Northern Mariana Islands
                                                                                   By________________________
Employer Tax ID / Other nos.:                                                                (Deputy Clerk)

                                                DEFICIENCY NOTICE

                     ORDER TO SATISFY PETITION FILING REQUIREMENTS
               AND NOTICE OF INTENT TO DISMISS CASE UNDER 11 U.S.C. Sec.109(g)(1)

To the Debtor(s) and the Debtor’s Attorney of Record [if any]:

In order for this case to be administered, it is necessary that the item(s) described below be filed must be filed with the
court within 14 days after the date of the filing of the petition [with the exception of the Statement of Intention which
must be filed within 30 days], unless an extension of time is requested and granted.
      Schedules A-J (all schedules)           Summary of Schedules (Form 106Sum)
      Schedule A/B        Schedule I          Statement of Financial Affairs
      Schedule C          Schedule J          Statement of Social Security Number (Form 121)
      Schedule D                              Statement of your Monthly Income (Form 122A, B, or C)
      Schedule E/F                        ✔   Certificate of Credit Counseling required by 11 U.S.C. §109
      Schedule G                          ✔   Credit Matrix/ List of Creditors (listing names and addresses of all creditors)
      Schedule H
The debtor and [if any] the joint debtor are hereby ordered to comply with the above filing requirements.

Failure to comply by filing all missing documents within 14 days after may result in dismissal of the case and may also be
considered a failure to abide by court order within the meaning of 11 U.S.C. Sec. 109(g)(1). This means that the debtor and
[if any] the joint debtor will not be eligible to file another bankruptcy petition for 180 days after the entry of an order
dismissing the case.



Dated: 07/26/2021                                                          Heather L. Kennedy, Clerk of Court

Address of the Bankruptcy Clerk’s Office
U.S. District Court for the Northern Mariana Islands                       By: Aiko D. Erungel, Deputy Clerk
3rd Floor, United States Courthouse
1671 Gualo Rai Rd., Gualo Rai
P.O. Box 500687
Saipan, MP 96950
Tel: (670) 237-1200
Fax: (670) 237-1201
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                                              CERTIFICATE OF SERVICE


The following entities were served by first class mail on 07/26/2021 :

                                           Julie Ann Palacios Guerrero
                                           P.O. Box 500251
                                           Saipan, MP 96950


I, Aiko D. Erungel, Deputy Clerk            , declare under the penalty of perjury that on the above-listed dates I served the
DEFICIENCY NOTICE on the above listed entities in the manner shown, and prepared the Certificate of Service and
that it is true and correct to the best of my information and belief.




Date: 07/26/2021                                                             Heather L. Kennedy, Clerk of Court


                                                                             By: Aiko D. Erungel, Deputy Clerk
